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                                                                                  VIA CM/ECF



                                                                          November 6, 2020

United States District Judge Ronnie Abrams
United States District Court
Southern District of New York
40 Foley Square, Room 2203
New York, New York 10007

        Re:       Natalia Juscinska v. Method Residential LLC, Case No.: 1:20-cv-6757-RA

Dear Judge Abrams:

       Please be advised that this office represents the Plaintiff Natalia Juscinska (“Plaintiff”) in
connection with the above-referenced action. We are pleased to inform Your Honor that the
above-referenced action has been settled and that the parties are in the process of drafting and
exchanging a settlement agreement that is intended to be reviewed by the parties for execution.
Respectfully, we are requesting together with counsel for the defendant, a stay of all deadlines
and conferences for thirty (30) days so that the parties can finalize the settlement agreement.

        We thank the Court for your time and consideration in this matter.

                                                                 Respectfully submitted,

                                                                 BASHIAN & PAPANTONIOU, P.C.

                                                                 /s/ Erik M. Bashian
                                                                 ________________________
                                                                 Erik M. Bashian, Esq.

                                                                                      Application granted.

cc:     Anthony J. Tomari, Esq. (via CM/ECF)                                                                      SO ORDERED.


                                                                                                    ______________________
                                                                                                         Hon. Ronnie Abrams
                                                                                                           November 9, 2020

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